                                               United States Bankruptcy Court
                                               Middle District of Tennessee
In re:                                                                                                     Case No. 20-03559-MFH
JAMES WHITFIELD LIVINGSTON                                                                                 Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0650-3                  User: ko8454                       Page 1 of 1                          Date Rcvd: Jul 30, 2020
                                      Form ID: pdf001                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 01, 2020.
db             +JAMES WHITFIELD LIVINGSTON,   PO BOX 91047,   Nashville, TN 37209-9047

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 01, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 30, 2020 at the address(es) listed below:
              HENRY EDWARD HILDEBRAND, III   hhecf@ch13nsh.com
              LEFKOVITZ AND LEFKOVITZ, PLLC   on behalf of Debtor JAMES WHITFIELD LIVINGSTON
               slefkovitz@lefkovitz.com,
               stevelefkovitz@aol.com;sllbkecf@gmail.com;khancock@lefkovitz.com;lefkovitzcvlecf@lefkovitz.com;r5
               2946@notify.bestcase.com;mspezia@lefkovitz.com
              US TRUSTEE   ustpregion08.na.ecf@usdoj.gov
                                                                                             TOTAL: 3




            Case 3:20-bk-03559              Doc 12 Filed 08/01/20 Entered 08/01/20 23:42:51                               Desc
                                          Imaged Certificate of Notice Page 1 of 2
             Dated: 7/30/2020




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                                                                This Order has been electronically
                                                                signed. The Judge's signature and
                                                                Court's seal appear at the top of the
                                                                first page.
                                                                United States Bankruptcy Court.




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                             Imaged Certificate of Notice Page 2 of 2
